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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                          CASE NO: 09-20403-03

v.                                         DISTRICT JUDGE THOMAS L. LUDINGTON
                                           MAGISTRATE JUDGE CHARLES E. BINDER
JOSEPH DALE BRAXTON,

       Defendant.
                                   /


                  MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                RECOMMENDATION CONCERNING PLEA OF GUILTY


I.     REPORT AND FINDINGS

       On May 18, 2010, this case was referred to the undersigned Magistrate Judge pursuant to

28 U.S.C. §§ 636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the parties,

Defendant’s offer of a plea of guilty. Defendant, along with counsel, appeared before me on May

19, 2010. In open court, I examined Defendant under oath, confirmed Defendant’s consent, and

then advised and questioned Defendant regarding each of the inquiries prescribed by Rule 11(b)

of the Federal Rules of Criminal Procedure.

       Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that Defendant

is competent to tender a plea; (2) that Defendant’s plea was knowingly, intelligently made; and (3)

that the offense(s) to which Defendant pleaded guilty is(are) supported by an independent basis

in fact containing each of the essential elements of the offense(s). Therefore, I have ordered the

preparation of a presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that, subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the Federal Rules of Criminal

Procedure, the Defendant’s plea be accepted, the Defendant be adjudged guilty and that sentence

be imposed.



III.     REVIEW

         The parties to this action may object to and seek review of this Report and Recommendation

within fourteen (14) days of service of a copy hereof as provided for in 28 U.S.C. § 636(b)(1).

Failure to file specific objections constitutes a waiver of any further right of appeal. Thomas v.

Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins. Co. v. Blaty, 454 F.3d

590, 596 (6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984 (6th Cir. 2005). The parties

are advised that making some objections, but failing to raise others, will not preserve all the

objections a party may have to this Report and Recommendation. McClanahan v. Comm’r of

Social Security, 474 F.3d 830, 837 (6th Cir. 2006); Frontier Ins. Co., 454 F.3d at 596-97. Pursuant

to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served upon this Magistrate Judge.




                                                      s/C   harles`EB      inder
                                                     CHARLES E. BINDER
Dated: May 19, 2010                                  United States Magistrate Judge




                                         CERTIFICATION


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        I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Shane Waller and Steve Jacobs, and served on District Judge Ludington
in the traditional manner.

Date: May 19, 2010                       By    s/Jean L. Broucek
                                         Case Manager to Magistrate Judge Binder




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